ADVANCING LAW FOR ANIMALS

RYAN R. GORDON (SBN 278414)
VANESSA T. SHAKIB (SBN 287339)
ADVANCING LAW FOR ANIMALS
407 N. Pacific Coast Highway #267
Redondo Beach, CA 90277

Tel: (202) 996-8389
rgordon@advancinglawforanimals.org
vshakib@advancinglawforanimals.org

DANIEL J. KOLDE, ESQ.

LAW OFFICES OF DANIEL J. KOLDE
P.O. Box 440344

St. Louis, Missouri 63144-9998

Tel: 636.675.5383

Email: daniel.kolde.law@gmail.com

(pro hac vice application to be filed)

Attorneys for Plaintiffs

E.L., a minor, by and through her general
guardian, JESSICA LONG; JESSICA LONG, an
individual,
Plaintiffs,

V.
LIEUTENANT JERRY FERNANDEZ, in his
individual capacity; DETECTIVE JACOB
DUNCAN, in his individual capacity;
DETECTIVE JEREMY ASHBEE, in his
individual capacity; SHASTA DISTRICT FAIR
AND EVENT CENTER, a district agricultural
association; COUNTY OF SHASTA; SHASTA
COUNTY SHERIFF’S DEPARTMENT;
MELANIE SILVA, in her individual and official
capacity; BJ MACFARLANE, in his individual
and official capacity; KATHIE MUSE, in her
individual and official capacity, and DOES 1
through 10,

Case 2:22-cv-01527-DAD-AC Document 142-2

Filed 02/06/25 Pagelof3

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA
SACRAMENTO DIVISION

Case No. 2:22-cv-01527-DAD-AC

DECLARATION OF JESSICA LONG IN
SUPPORT MOTION TO MODIFY THE
COURT ORDER RE MINOR’S
COMPROMISE (ECF No. 113)

Date: March 11, 2025
Time: 1:30 pm

Courtroom: 4, 15th Floor
Trial Date: March 24, 2025

Action Filed: August 31, 2022

i
DECLARATION OF JESSICA LONG IN SUPPORT OF MODIFYING COURT ORDER

ADVANCING LAW FOR ANIMALS

Case 2:22-cv-01527-DAD-AC Document 142-2 Filed 02/06/25 Page 2of3

DECLARATION OF JESSICA LONG

I, Jessica Long, declare as follows:

l. I am over the age of eighteen. I have personal knowledge of the facts set forth in
this declaration and if called as a witness could and would competently testify thereto. | submit
this declaration in support Plaintiff E.L.’s Motion to Modify The Court Order Re Minor’s
Compromise (ECF No. 113).

a I am a Plaintiff in this matter and have been appointed guardian ad litem by this Court
for my minor daughter, Plaintiff E.L., as of January 17, 2023. ECF No. 13.

3. As this Court knows, Plaintiffs settled their claims in this matter with Defendants the
County of Shasta, the Shasta County Sheriffs Department, Lieutenant Fernandez, Detective Jeremy
Ashbee, and Detective Jacob Duncan (collectively, the “County Defendants”). Our case, however,
proceeds against the defendants remaining this case.

4. With respect to the portion of the settlement this Court approved for E.L., in
September 2024, my husband and I engaged the firm of Amicus Settlement Planners, LLC to come
up with the most advantageous tax effective strategy for E.L.’s settlement funds. That firm consists
of both attorneys and accountants and are specialists in settlements. They were very informative on
these issues and have assisted my family greatly.

5. As both the GAL for E.L., and as her mother, the strategy we all agreed to was to
have E.L.’s settlement proceeds fund an annuity for her benefit that would pay out when she is 18.

6. E.L. was involved in selecting this option.

7 A true and correct copy of the annuity policy Plaintiffs wish to fund for E.L., from
her settlement funds, is attached as Exhibit A to the concurrently filed Declaration of Bryce
Maxwell.

8. As I understand it, this particular annuity is projected to grow E.L.’s settlement to
somewhere between approximately $92,000 to nearly $110,000 by the time it starts paying out to
Bilin

9. Funding this annuity was the plan at the time Plaintiffs filed their motion to approve

the minor’s compromise. ECF No. 110. That is why in my last declaration I requested “approval to

l
DECLARATION OF JESSICA LONG IN SUPPORT OF MODIFYING COURT ORDER

ADVANCING LAW FOR ANIMALS

Case 2:22-cv-01527-DAD-AC Document 142-2 Filed 02/06/25 Page 3of3

have E.L.’s $65,000 in settlement proceeds from the County Defendants placed in that Trust, where
the funds will be held, managed and invested on her behalf, with no distribution or benefits to
anyone, except E.L. when she reaches eighteen (18) and is granted access at that time.” ECF 110-3
at { 14 (emphasis added).

10. The resulting court order’s restriction on “withdrawals” however, precludes the
funding of the annuity we had hoped to accomplish for E.L.

11. I fully support the instant motion on E.L.’s behalf, both as her GAL and her mother. I
request the Court to grant authority that E.L.’s funds be permitted to fund the annuity referenced in
Exhibit A to the Declaration of Bryce Maxwell. The funds will be secure, they will grow, and they

will distributed according to the payment schedule in Exhibit A.

I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct. Executed this 5" day of February, 2025, at Redding, California.

seoagen. (ory

f- Jessica Long

